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UN|TED STATES DlSTR|CT COURT
WESTERN DlSTR|CT OF NEW YORK

 

CHARLES PlERRE,
Plaintiff, DEC|S|ON and ORDER
16-CV-6428 CJS

_VS_

ClTY OF ROCHESTER, ROCHESTER POL|CE
DEPARTMENT, l\/llCHAEL GREEN, SANDRA
DOORLEY, l\/lONROE COUNTY DlSTR|CT
ATTORNEY, l\/lONROE COUNTY DlSTRlCT
ATTORNEY’S OFFICE and l\/lONROE COUNTY,

Defendants.

 

lNTRODUCT|ON

Char|es Pierre (“Plaintiff”) filed this action under 42 U.S.C. § 1983 and NeW York
State Law, alleging that he Was improperly convicted of murder and arson, and that
defendants subsequently delayed informing him --for more than eight years-- of evidence
obtained post-conviction that eventually contributed to his convictions being vacated.

The newly-discovered evidence Was voluntarily disclosed to Plaintiff, and he
successfully utilized New York State law to collaterally attack his conviction, and upon re-
trial he Was acquitted The focus of this lawsuit, however, is Whether the Defendants
(municipalities and municipal employees) violated Plaintiff’s federal constitutional rights
by hindering his ability to use state post-conviction procedures to challenge his conviction,
and, in particular, whether Defendants had a constitutional duty to turn overthe potentially
exculpatory information to him in a more-timely fashion.

Now before the Court is a motion by the City of Rochester and Rochester Police

Department to dismiss the Complaint for failure to state an actionable claim, and a cross-

 

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motion by Plaintiff to file an Amended Complaint, which movants oppose as futile. The
motion to dismiss is granted, and the cross-motion to amend is denied as to the City of
Rochester, the Rochester Police Department and individual City Police Officers named in
the Proposed Amended Complaint. The cross-motion to amend is granted as to the
claims against the County defendants, who have not opposed the application.
FACTUAL BACKGROUND

Unless otherwise noted, the following facts are taken from the Complaint and the
Proposed Amended Complaint, and are accepted as true for purposes of this Decision
and Order.1 On August 2, 2002, two individuals (Clara Sconlers and Thomas Reed)
were murdered in an apartment at 262 First Street in the City of Rochester, New York,
and the apartment was set ablaze by the perpetrator. Members of the Rochester Police
Department (“RPD”) conducted an investigation which found, among other things, that
Plaintiff, who had a criminal record and who had previously dated lVls. Sconlers, had been
present at 262 First Street on the day of the murders and had argued with Sconiers.2 On
August 24, 2002, RPD officers arrested Plaintiff and charged him with the aforementioned

murders and arson. The l\/lonroe County Grand Jury later indicted Plaintiff forthe crimes,

 

1The Court “limit[s] itself to facts stated in the complaint, documents attached to the complaint as
exhibits, and documents incorporated by reference in the complaint," but does “not credit concluso
statements unsupported by assertions of facts or legal conclusions and characterizations presente as
factual allegations.” West v. Harkness, Civ. No. 9:1 -CV-621 (GTS/DJS;, 2018 WL 3748344 at *2
(N.D.N.Y. l\/lay 29, 2018) (citations and internal quotation marks omitted

2The Court notes with disapproval that Plaintiff’s counsel omitted this fact from _both versions of
his Complaint, while simultaneously asserting that there was no probable cause for Plaintiff’s arrest ln
any event, the Court considers the fact because Plaintiff admitted it in the ap ellate brief that he filed with
the New York State Supreme Court, Appellate Division Fourth Department ee, e.g., 2006 WL 4704803
glth Dept. June, 2006) (“l\/lr. Pierre admitted to previously datin lVls. Sconlers and to bein at 262 First
treet on the day of the fire and arguing with her, but denied kil ing lVls. Sconlers and l\/lr. eed.”); see _
also, Pur ess v. Sharrock, 33 F.3d 134, 144 (2d Cir. 1994) (“A court can appropriately treat statements in
briefs as inding judicial admissions of fact.”).

 

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and on June 16, 2003, Plaintiff was convicted following a jury trial, “At trial, numerous
witnesses from the First Street neighborhood testified to seeing l\/lr. Pierre at or near 262
First Street both before and after the fire started and to witnessing arguments between
l\/lr. Pierre and lVls. Sconiers on the day of the fire.”3 On July 28, 2003, the trial court
sentenced Plaintiff to, inter alia, life in prison without parole."' Plaintiff’s conviction was
affirmed on appeal. See, People v. Pierre, 37 A.D.3d 1172, 829 N.Y.S.2d 386 (4th Dept.
2007), leave to appeal denied, 8 N.Y.3d 989 (2007). Plaintiff, though, always maintained
his innocence

On September 18, 2005, approximately two years after Plaintiff’s sentencing, RPD
Officer Paul Bushart (“Bushart”) responded to a domestic violence complaint at the
residence of Darrell Boyd and Kathleen Boyd on l\/lerchants Road in the City of Rochester.
Upon Officer Bushart’s arrival at the Boyd residence, Mrs. Boyd told him that she wanted
l\/lr. Boyd out of the apartment, because he had been beating her. l\/lrs. Boyd further told
Officer Bushart that her husband had actually committed the murders and arson at 262
First Street, and that an innocent man had been convicted of the crimes. ln Bushart’s

presence, l\/lrs. Boyd threatened her husband that she would say more to Bushart if he

 

3 Plaintiff also did not include this fact in either version of his Complaint, but the Court

nevertheless considers it because Plaintiff admitted it in the appellate brief that he filed with the New York
State Supreme Court, Appellate Division Fourth Department See, e.g., 2006 WL 4704803; see also,
Purgess v. Sharrock, 33 F.3d at 144 (“A court can appropriately treat statements in briefs as binding
judicial admissions of fact.”).

4Docket No. [#32], Exhibit C at p. 1 (“[D]efendant was . . . sentenced to serve life i_n prison without
k)/|arole on the l\/lurder in the First Degree charge, concurrent terms of twent five years to life on the
Curder in th)e Second Degree charges, and a concurrent sentence on the rson in the Second Degree
onviction." .

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did not leave the premises. Mr. Boyd became visibly upset at his wife’s statement, and
left the apartment After Mr. Boyd’s departure, Bushart attempted to talk further with Mrs.
Boyd, but she refused to provide any additional information.

Officer Bushart recorded the incident, including Mrs. Boyd’s statements about the
murders, in a police report which stated:

Police responded to 835-7 l\/lerchants Rd. for a family trouble. ln anger, S-
Kathleen Boyd stated that S- Darrell Boyd had committed arson & murder.
S- Kathleen Body threatened to divulge the details unless he left. S-
Darrell Boyd appeared to become upset by this. S- Kathleen Boyd stated
that S- Darrell Boyd was responsible for the arson/homicide at 262 First St.
and that an innocent person was in prison for the incident. After S- Darrell
Boyd left, S- Kathleen Boyd would not discuss the matter further.

(Docket No. [#32], Exhibit B). l\/lrs. Boyd apparently never explained to Bushart the basis
for her accusation against her husband.5 lt would not be until 2012 that Mrs. Boyd would
provide that information, or, indeed, any further information, to the police.6

ln any event, Bushart provided the report to his supervisor, Sergeant Daniel

Beradini (“Beradini”), who entered the information into the RPD’s files. lt is unclear what,

 

5At the time of the murders and arson in 20021 lVlr. & Mrs. Boyd resided in the same apartment
building at 262 First Street as the victims, and l\/lr. Boyd confessed to Mrs. Boyd that he was guilty of the
crimes. However, there is no indication that Mrs. Boyd provided either of those bits of highly-relevant
information to Bushart. See, Docket No. W32], Exhibit B. Consequently, it appears that Mrs. Boyd
merely made the bald assertion that her usband was res onsible for the murders, without indicating the
basis for her statement l\/loreover, when Bushart asked er to explain the statementl she refused
Thereforel the statement in ‘|l 31 of the Pro osed Amended Complaint that Mrs. Boyd told Bushart that
“her husband (Darre|l Boyd) had confesse to a homicide on First Street” is actually incorrect, and is
further refuted by the next paragraph of the pleading, 11 32, which admits that Bushart recorded what Mrs.
Boyd had said in his report. Therefore, the assertion in fl 31 of the pleadin that Bushart knew Mr. Boyd
had cr:tonfessed to the crimes is a logical leap that is unsupported by, and in eed, is refuted by, Bushart’s
repo .

6See, e.g., Docket No. [#32], Exhibit C, at p. 5 (Portion of Judge Randall’s Decision and Order
discussing Mrs. oyd’s testimony at the hearing).

 

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if anything, Beradini may have done further about the report. For example, it is unclear
whether Beradini notified the l\/lonroe County District Attorney’s Office (“DA’s Office”).
Plaintiff’s original Complaint indicated that Beradini so notified the DA’s Office, though
Plaintiff deleted that assertion from the Proposed Amended Complaint after the City
pointed out that such assertion was beneficial to the City.7 lt is undisputed though, that
no one notified Plaintiff about Mrs. Boyd’s statement in 2005.

Almost seven years later, on May 2, 2012, RPD lnvestigator Robert Brennan
(“Brennan”) was investigating Darrell Boyd’s involvement in another crime, when he
discovered the report written by Officer Bushart in 2005, in the RPD’s files. Brennan
interviewed Mrs. Boyd, who admitted that her husband had confessed to her that he had
committed the 2002 murders and arson. A few days later, on May 7, 2012, Brennan and
RPD investigator Gary Galetta (“Galetta”) re-interviewed Mrs. Boyd, who repeated what
she had previously told Brennan. At the completion of the interview, Brennan and
Galetta instructed Mrs. Boyd not to discuss her information with anyone else, including
Plaintiff. Later that month, on l\/lay 29, 2012, Brennan shared the information obtained
from Mrs. Boyd with members of the Monroe County DA’s Office.

The RPD and DA’s Office subsequently investigated the matter. Such
investigation involved interviewing Plaintiff in prison, and finding and interviewing persons

with whom Mr. Boyd had come into contact while he was in jail on other charges. Such

 

7Compare Complaint [#1] at 11 19 with Amended Complaint [#30-1] at 11 36. For a general
discussion of the legal effect of such a change between pleadingsl see enera||y, Vasquez v. Rei//y, No.
15-CV-9528 (Kl\/IK), 2017 WL 946306, at *3 (S.D.N.Y. lVlar. 9, 2 17) (co |ecting cases).

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investigation established that Mr. Boyd had told a fellow inmate, Dolph Sturgis (“Sturgis”),
that he had committed the First Street murders.8 Sturgis later testified on Plaintiff’s
behalf concerning statements that Mr. Boyd had made to him about the murders. See,
Docket No. [#32], Exhibit B, pp. 2-3. The RPD’s and DA’s Office’s success in obtaining
such additional corroborative evidence was evidently due to their own investigative
efforts, as opposed to being the result of information provided by Mrs. Boyd ln other
words, Mrs. Boyd never indicated that Mr. Boyd had confessed to anyone else.

On November 25, 2013, the DistrictAttorney’s Office informed Plaintiff that “Darrell
Boyd had confessed to several individuals” that he had committed the murders.9 This
was the first time that Plaintiff was made aware of the exculpatory evidence. Plaintiff
then used the information provided to him by the DA’s Office to file a collateral attack on
his conviction pursuant to New York Criminal Procedure Law (“CPL) § 440.10(1)(g). At
a hearing on the collateral attack, the court heard testimony from investigator Brennan,
Mrs. Boyd and Sturgis. On July 17, 2014, the Honorable Douglas Randal|, l\/lonroe
'County Court Judge, granted Plaintiff’s motion to vacate the judgment of conviction.10 ln
that regard, Judge Randall observed that “the admissions to the crime [by] another

individual who was present in the building and considered an initial person of interest

 

aSee, Amended Complaint [#30-1] at 11 47 (Asserting that on November 25, 2013, Defendants
told Plaintiff “that Darrell Boyd had confessed to several individuals that he had murdered lVls. Sconiers
and Mr. Reed.”) (emphasis added).

9Amended Complaint [#30-1] at 11 47.

1°Judge Randall wrote, in pertinent part, that, “it is quite clear to this Court that, no matter what
evidence was produced at the defendant’s trial, this new evidence is of such character as to create a
probabilit that had such evidence been received at the trial, the verdict would have been more favorable
to the de endant.” Docket No. [#8-1] at pp. 8-9 (citation and internal quotation marks omitted).

 

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would very probably change the jury’s verdict.”11 Judge Randall did not dismiss the
charges altogether, but instead, found that Plaintiff was entitled to a new trial, since the
newly-discovered evidence “create[d] the probability that had such evidence been
received at trial the verdict would have been more favorable to the defendant.”12

The District Attorney’s office appealed Judge Randall’s ruling, but on June 12,
2015, the New York State Supreme Court, Appellate Division Fourth Department,
affirmed the ruling. The Office of the l\/lonroe County District Attorney elected to re-try
Plaintiff for the murders and arson.13 However, on August 13, 2015, following a jury trial,
Plaintiff was acquitted of the charges.

On June 7, 2016, Plaintiff commenced the subject action in New York State
Supreme Court, l\/lonroe County. The Complaint named as defendants the City of
Rochester (“the City”), the RPD, lVlonroe County (“the County”), the DA’s Office, former
District Attorney l\/iichael Green (“Green”), and current District Attorney Sandra Doorley
(“Doorley”). The Complaint purported to state five causes of action: 1) “False Arrest and
False lmprisonment”; 2) “lntentional and Negligent infliction of Emotional Distress” (“ilED
& “NlED”); 3) “Negligent Training, Supervision and Retention”; 4) “Malicious

Prosecution”; and 5) “Civil Rights Vioiations” under 42 U.S.C. § 1983 (“Section 1983" or

 

11Docket No. [#8-1] at p. 7.
12Docket No. [#32], Exhibit C at p. 7.

13Plaintiff implies that it was improper for the DA’s Office to re-tQ/ him in light of the newly-
discovered evidence. Plaintiff is entitled to his opinion, but Judge Ran a|i's rulin did not establish his
gtnocence. Ratherl it merely established his “entitlement to a new tria|.” Docket o. [#32], Exhibit C at p.

 

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“§ 1983"). Defendants removed the action to federal court.

On June 30, 2016, the City and RPD (“l\/lovants”) filed the subject motion (Docket
No. [#3]) to dismiss the entire Complaint for failure to state a claim, pursuant to
FedR.Civ.P. 12(b)(6). l\/lovants argued, for example, that the negligent supervision
claim was not actionable, because New York does not recognize such a claim for torts
committed by employees acting within the scope of their employment Additionally,
l\/lovants contended that the Complaint did not plead a plausible claim for malicious
prosecution, because neither the City nor the RPD “initiated” the prosecution against
Plaintiff or acted with “ma|ice,” and because there was probable cause for the prosecution
in any event. Further, l\/lovants argued that the § 1983 claim was insufficiently pled,
because it did not plausibly allege a municipal policy, custom or practice; did not identify
what constitutional right(s) had been violated; and, insofar as it was attempting to assert
a Fourteenth Amendment Due Process claim, did not plausibly allege that Plaintiff had a
liberty interest in being provided with potentially-exculpatory information post-conviction,
(Anticipating that Plaintiff might later attempt to add individual city employees as
defendants, the City further indicated that because there was no such liberty interest, any
individual city employees would be entitled to qualified immunity.) i\/lovants further
asserted that the RPD is not an entity that can be sued apart from the City of Rochester,
and that the claims against the RPD are therefore redundant of the claims against the
City, and should be dismissed

On August 19, 2016, Plaintiff responded to the motion, and assented to the

dismissal of the claims for false arrest/false imprisonment, llED and NlED. Additionally,

 

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Plaintiff did not challenge Movants’ arguments concerning the insufficiency of the claim
for negligent supervision, training and retention. Nor did Plaintiff challenge Movants’
assertions regarding the propriety of including both the City and RPD as defendants
Plaintiff maintained however, that the pleading adequately stated claims for malicious
prosecution. As to that claim, Plaintiff contended that the City and RPD had “continued
the prosecution against him,” after he had been convicted, by failing to tell him about Mrs.
Boyd’s statement, Plaintiff also maintained that there was no probable cause for his
prosecution, even though he had been convicted at trial, and even though the convictions
were upheld on appeal, since the convictions were ultimately vacated by collateral attack.

As for his § 1983 claim, Plaintiff asserted that “withholding exculpatory evidence
(even when discovered post-conviction) is actionable under Section 1983.”14 As support
for this contention, Plaintiff relied primarily upon two district court decisions, Houston v.
Partee, 758 F.Supp. 1228 (N.D.lll. 1991) (“Houston”) and Warney v. City of Rochester,
536 F.Supp.2d 285 (W.D.N.Y. 2008) (Larimer, J.) (“Warney”), rev. in part, 587 F.3d 113
(2d Cir. 2009). Plaintiff further asserted that it would be premature to consider the
question of qualified immunity on a 12(b)(6) motion, unless it was evident from the face
of the Complaint that the defense applied

On September 1, 2016, l\/lovants filed a reply (Docket No. [#9]), which essentially
reiterated the points contained in their opening brief. in response to Plaintiff’s reliance

on Houston and Warney, l\/lovants maintained that those decisions are factually

 

14Docket No. [#8-3] at p. 5.

 

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inapposite, because they involved the duty of prosecutors not police officers, to make
post-conviction disclosure of exculpatory evidence. l\/lovants contended moreover, that
subsequent binding case authority has established that there is no federal post-conviction
Brady-like duty to disclose exculpatory evidence. Further, the reply argued that the
portion of the motion seeking dismissal of the negligent supervision claim should be
granted as unopposed

While the Motion to Dismiss was awaiting oral argument, the parties engaged in
pretrial discovery. On l\/iarch 15, 2017, Plaintiff filed a motion [#30] to amend the
Complaint, stating: “During discovery, the Plaintiff uncovered new evidence which
supported the drafting of several new causes of action and required the addition of six
new parties . . . to the Complaint.” The Proposed Amended Complaint drops former DA
l\/lichael Green as a defendant, but retains current DA Doorley, the County, the District
Attorney’s Office, the City and RPD as defendants Further, the proposed pleading adds
RPD officers Bushart, Beradini, Brennan and Galetta as defendants as well as Assistant
District Attorneys Brian Green (“ADA Green”) and Ke|ly Wolford (“ADA Wolford”) whom,
the Proposed Amended Complaint contends, were toid, in May 2012, by Brennan and
Galetta, about Mrs. Boyd’s exculpatory statement.

The Proposed Amended Complaint purports to assert ten separate causes of
action, which may be summarized as follows: 1) § 1983 claims against Bushart, Beradini,
Brennan, Galetta, DA Doorley, ADA Green, ADA Wolford, the County, the District
Attorney’s Office, the City and RPD; 2) conspiracy claims under 42 U.S.C. § 1985 against

Brennan, Galetta, DA Doorley, ADA Green and ADA Wolford; 3) a claim under 42 U.S.C.

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§ 1986 against DA Doorley (for neglect in preventing a conspiracy under 42 U.S.C. §
1985); and 4) a claim for false arrest/false imprisonment against the City, RPD, Bushart,
Beradini, Brennan and Galetta.

The proposed amended claims under § 1983/§ 1985 purport to allege violations of,
and/or conspiracies to violate, Plaintiff’s rights under the “Fourth, Fifth, Sixth, and
Fourteenth Amendments to the United States Constitution.” Amended Complaint [#30-1]
at 11 60; see also, id. at 11 11 67, 76, 86, 105. Specifically with regard to proposed
Fourteenth Amendment Due Process claims, the motion to amend maintains that New
York’s CPL § 440.10(1)(g) provides a liberty interest in challenging one’s conviction based
upon new evidence, and also creates a concomitant liberty interest in receiving timely
disclosure from the police and/or prosecutors of exculpatory information obtained post-
conviction. The Proposed Amended Complaint also purports to assert constitutional
claims under Section 1985 based upon the Defendants alleged attempts to “defeat the
course ofjustice." (Sixth & Seventh Causes of Action).

The County Defendants do not oppose the amendment However, the City, RPD,
Bushart, Beradini, Brennan and Galetta oppose the amendment on the ground that the
amendment would be futile, since the Proposed Amended Complaint still fails to state
actionable claims See, Docket Nos. [#32]&[#33]. l\/lovants reiterate that to the extent
Plaintiff’s claims are based upon a “a Brady-like obligation to promptly disclose to him

exculpatory evidence which police first encountered years after [his] conviction,” such

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claims fails because such an obligation does not exist15 Movants agree that New York
CPL § 440.10(1)(g) provides Plaintiff with a liberty interest in proving his innocence with
newly-discovered evidence, but note that such statute

does not by its terms require any police disclosure of exculpatory evidence
encountered post-conviction to the convicted defendant and it certainly
does not prescribe a timeline for any such disclosure - it only creates a
forum for a convicted defendant, armed with new evidence, to challenge his
conviction.

Docket No. [#33] at p. 11. Movants further argue that New York law is not “deficient” in
a constitutional sense merely because it fails to require such disclosure Alternatively,
Movants contend that all individual city defendants would be entitled to qualified immunity,
since there has never been a clearly-established post-conviction Brady-like duty to
disclose exculpatory evidence

Additionally, Movants contend that the Proposed Amended Complaint fails to plead
a basis for Mone/l liability against the City, On this point, with regard to the alleged due
process claim, Movants point out that the alleged municipal policy or practice upon which
Plaintiff is attempting to base Mone// liability is the failure by the City to have a policy
requiring the police to turn over exculpatory information to convicted individuals
However, l\/iovants contend that such failure cannot support a Mone/l claim, since, again,
convicts have no such post-conviction Brady-iike right to disclosure For this same

reason, Movants contend that there can be no § 1985 conspiracy to violate a non-existent

 

15Docket No. [#33] at p. 1.

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constitutional right. l\/lovants further contend that no Sixth Amendment speedy-trial right
was violated since at all relevant times Plaintiff had already been tried and found guilty;
that no Fourth Amendment right was violated since Plaintiff’s arrest, prosecution and
imprisonment were supported by probable cause, which was not dissipated by Mrs.
Boyd’s hearsay statements to police; and that any state or federal claim for false arrest is
time-barred in any event

Plaintiff subsequently filed a reply [#39], and Movant’s filed a sur-reply [#39] with
the Court’s permission.

On April 6, 2017, counsel for all parties appeared before the undersigned for oral
argument Plaintiff’s counsel asserted inter alia, that a constitutional right to timely
disclosure of post-conviction exculpatory evidence exists, where such disclosure “wouid
prevent extended prolonged incarceration.” Movants’ counsel responded that pursuant
to Dist. Attorney’s Office for the Third Judicia/ Dist. v. Osborne, 557 U.S. 52, 68 (2009)
(“Osborne”), a protected liberty interest exists only if it is provided by state law, and that
while New York State law provides a liberty interest in connection with Criminal Procedure
Law § 440.10(1)(g), the process provided thereunder does not include a post-conviction
Brady-like right to disclosure Movants’ counsel asserted that to the extent such fact is
unfair, it is up to the New York State legislature to remedy the problem. Plaintiff’s counsel
agreed that New York State law does not require police or prosecutors to make post-
conviction disclosure of exculpatory evidence, but argued that such fact makes New York
law deficient in particular, Plaintiff’s counsel argued that any state law that does not

require police and prosecutors to immediately turn over (to the convict himself)

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exculpatory or potentially-exculpatory information obtained post-conviction is
constitutionally deficient since under the Due Process Clause, all convicted persons
retain a limited liberty interest to exculpatory information and a right to whatever process
is necessary to vindicate that liberty interest Although, nowhere in the Complaint or the
Proposed Amended Complaint does Plaintiff allege that New York State law is deficient;
rather, that is an argument Plaintiff’s counsel made for the first time in his reply16 and
during oral argument Plaintiff’s counsel also asserted that regardless of state law, there
is a freestanding Due Process right to be free from “prolonged excessive detention.”17

The Court observed that since the exculpatory information had been voluntarily
turned over to Plaintiff, his federal claims were seemingly based on an assumed right to
more timely disclosure of the information, The Court asked Plaintiff’s counsel to identify
the basis for such a right. Plaintiff’s counsel responded that Betterman v. Montana, 136
S.Ct. 1609, 1618 (2016) and Newton v. City of New York, 779 F.3d 140 (2d Cir. 2015)
(“Newton”) established the right upon which he was relying. At the close of oral
argument, the Court offered counsel the opportunity to submit additional briefing on the
specific issue of whether there is a constitutional right to timely disclosure of post-
conviction exculpatory evidence

On April 20, 2017, Plaintiff and Movants both submitted supplemental letter-briefs

(Docket Nos. [#41] & [#42], respectively). l\/iovants maintained that the Second Circuit’s

 

16See, Docket No. [#37] at pp. 7-8.

17 Counsel stated that such a claim arises where a plaintiff has “the right to be free from
continued detention,” and defendants violate that right under circumstances that shock the conscience

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decision in Newton (which held both that New York law provides convicted prisoners with
a liberty interest in demonstrating their innocence with DNA evidence, and that the 14th
Amendment Due Process clause entitles such prisoners to reasonable procedures to
permit them to vindicate that liberty interest) is not applicable to the instant case, since
the New York CPL does not establish a Brady-like duty to make post-conviction disclosure
of exculpatory evidence Movants reiterated that any such right to disclosure would have
to be enacted by the State of New York, Alternatively, Movants pointed out that Newton
was not decided until 2015, which means that the individual defendants would be entitled
to qualified immunity in any event Movants also asserted with regard to the issue of
qualified immunity, that in Seri v. Bochicchio, 374 F.App’x 114 (2d Cir. 2010) (“Seri”)
(which, in turnl cited to McKithen v. Brown, 626 F.3d 143, 152 (2d Cir. 2010)
(“McKithen")), the Second Circuit held “that there is no clearly established right to post-
conviction Brady-iike disclosure of exculpatory evidence by police.” Plaintiff, on the other
hand cited Russo v. City of Bridgeporl, 479 F.3d 196 (2d Cir. 2007) (“Russo”) and Warney
as clearly establishing a right to avoid prolonged detention. Plaintiff also asserted that
the Movants’ reliance on Seri and McKithen was misplaced since those cases are
inapposite
DlSCUSSlGN

As discussed earlier, the procedural history of this action is that Plaintiff initially
asserted various claims, then abandoned some of those ciaims, and then asserted new
claims while the motion to dismiss was still pending. Accordingly, before proceeding

further, it will be helpful to clarify which claims are still in piay.

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in the original Complaint [#1], Plaintiff asserted five claims: 1) false Arrest/false
|mprisonment; 2) llED & NlED; 3) negligent training, supervision and retention; 4)
malicious prosecution; and 5) civil rights violations After the City defendants moved to
dismiss all five claims, Plaintiff expressly abandoned the first two of those causes of
action,18 and failed to respond to the City Defendants’ arguments concerning the third
cause of action, thereby implicitly abandoning that ciaim.19 As a result, Movants’ motion
to dismiss was really directed at just the fourth and fifth causes of action, for malicious
prosecution and civil rights violations respectiveiy.

However, while that motion to dismiss was still pending, Plaintiff moved to amend
and, insofar as the Proposed Amended Complaint pertains to the City or Rochester, the
RPD, or the employees of the RPD, the claims are as follows: 1) § 1983 claims against
Bushart, Beradini, Brennan, Galetta, the City and RPD (First, Second and Fifth Causes
of Action); 2) Conspiracy under 42 U.S.C. § 1985 against Brennan and Galetta (Sixth and
Seventh Causes of Action); and 3) false arrest against the City, RPD, Bushart, Beradini,
Brennan and Galetta (Ninth Cause of Action). The proposed § 1983 claims and
proposed § 1985 conspiracy claims are all based upon the same underlying conduct,
namely, the failure to turn over Mrs. Boyd’s exculpatory statement to Plaintiff in a more-

timely fashion.

 

18See, Docket No. [#8] at 11 3.

19See, general/y, Div. 1181 Amal%amated Transit Union-New York Employees Pension Fund_ v. R
& C Transit, /nc., No. 2160V02481ADSA L, 2018 WL 794572, at *4 (E.D.N.Y_. Feb. 7, _2018) (lnd_icating
that where a giaintiff fails to respond to a defendant’s motion to dismiss a particular claim, the claim may
be deemed a andoned) (collecting cases);

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lt is well-settled that an amended complaint is intended to completely replace a
prior complaint 20 and the Proposed Amended Complaint does not re-assert the
malicious prosecution claim that was in the original Complaint Consequently, the Court
deems the malicious prosecution claim as now having been abandoned along with the
llED, NlED and negligent supervision claims21 Those claims are dismissed On the
other hand the Proposed Amended Complaint re-asserts the false arrest claim which
was in the original Complaint, but which Plaintiff had previously abandoned

Where, as in this case, a court has before it both a motion to dismiss and a cross-
motion to amend it “has a variety of ways in which it may deal with the pending motion
[to dismiss,] from denying the motion as moot to considering the merits of the motion in
light of the amended compiaint.” ln re Colonia/ Ltd. P’ship Litig., 854 F. Supp. 64, 80 (D.
Conn. 1994). Here, the only claim remaining from the original Complaint (“civil rights
violations”) is included in the Proposed Amended Complaint, and Movants oppose the
cross-motion to amend on the grounds of futility. Accordingly, since the “futiiity” standard

is the same as the Rule 12(b)(6) standard22 the Court will simply consider the motion to

 

2°See, e.g., Vasquez v. Reil/y, No. 15-CV-9528 (Kl\/lK)l 2017 WL 946306, at *3 (S.D.N.Y. Nlar. 9,
2017) (Discussing “the general rule recognizing that an amended pleading completely replaces the
original pleading.") (citations omitted).

21The Proposed Amended Complaint also does not include the llED, NlED or ne_gli ent
supervision claims and those claims would therefore be deemed abandoned even if Plainti had not
already abandoned them in response to the motion to dismiss

22Pursuant to FedR.Civ.P. 15, a court should “freely” give leave to amend “when justice _so
requires” However, a court may deny leave to amend for any number of “good reason[s], including
futilit , bad faith, undue delay, or undue prejudice to the opposing party.” Kim v. Kimml 884 F.3d 98, 105
(2d ir. 2018) (citation omitted). “A proposed amendment to a pleadin would be futile if it could not
withstand a motion to dismiss pursuant to Rule 12(b)(6)." Martin v. Dic son, No_. 03-7917, 100
Fed.Appx. 14, 16, 2004 WL 1205185 at *2 (2d Cir. Jun. 2, 2004) (unpub|ished citation omitted).

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dismiss in light of the Proposed Amended Complaint, and disregard the original
Complaint

ln that regard the legal standards to be applied on a motion to dismiss pursuant
to Rule 12(b)(6) are clear:

To survive a motion to dismiss a complaint must plead “enough facts to
state a claim to relief that is plausible on its face.” Be/lAt/. Corp. v. Twomb/y,
550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). A claim is
facially plausible “when the plaintiff pleads factual content that allows the
court to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Ashcroft v. /qbal, 556 U.S. 662, 678, 129 S.Ct. 1937,
173 L.Ed.2d 868 (2009).

Progressii/e Credit Union \/. City of New York, 889 F.3d 40, 48 (2d Cir. May 1, 2018).

in its review, the Court is entitled to consider facts alleged in the complaint
and documents attached to it or incorporated in it by reference, documents
“integral” to the complaint and relied upon in it, and facts of which judicial
notice may properly be taken under Rule 201 of the Federai Rules of
Evidence.

Heckman v. Town of Hempstead, 568 F. App’x 41, 43 (2d Cir. Jun. 3, 2014) (citations and
internal quotation marks omitted).

While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not
need detailed factual allegations a plaintist obligation to provide the
grounds of his entitlement to relief requires more than labels and
conclusions and a formulaic recitation of the elements of a cause of action
will not do. Factual allegations must be enough to raise a right to relief
above the speculative level, on the assumption that all the allegations in the
complaint are true (even if doubtful in fact).

BellAf/. Corp. V. TWOmb/y, 550 U.S. 544, 555, 127 S.Ct. 1955, 1964-65, 167 L.Ed.2d 929

(2007); see also, ATS/ Communications, /nc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d

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Cir.2007) (“To survive dismissal, the plaintiff must provide the grounds upon which his
claim rests through factual allegations sufficient ‘to raise a right to relief above the
speculative levei.’ ”) (quoting Be/lAt/. Corp. v. Twombly) (footnote omitted).

When applying this “plausibility standard” the Court is guided by “two working
principles”:

First although a court must accept as true ali of the allegations contained
in a complaint 23 that tenet is inapplicable to legal conclusions and
threadbare recitals of the elements of a cause of action, supported by mere
conclusory statements do not suffice Second only a complaint that
states a plausible claim for relief survives a motion to dismiss and
determining whether a complaint states a plausible claim for relief will be a
context-specific task that requires the reviewing court to draw on its judicial
experience and common sense

Harris v. Mi/ls, 572 F.3d 66, 72 (2d Cir. 2009) (citations and internal quotation marks
omitted). “[VV]here the well-pleaded facts do not permit the court to infer more than the
mere possibility of misconduct the complaint has alleged-but it has not shown-that the
pleader is entitled to relief.” Ashcroff v. lqbal, 556 U.S. 662, 679, 129 S.Ct. 1937, 1950
(2009) (citation omitted).

“[A]s lqbal makes clear, a plausible claim must come before discovery, not the
other way around.” Angiulo v. Cty. of Westchester, No. 11-CV-7823 CS, 2012 WL
5278523, at *3 (S.D.N.Y. Oct. 25, 2012) (citation omitted); see also, McBeth v. Porges,

171 F. Supp. 3d 216, 236 (S.D.N.Y. 2016) (Observing that pursuant to /qbal’s pleading

 

23The Court must accept the plausible factual allegations contained in the complaint as true and draw

all reasonable inferences in favor of the nonmoving party. Bumette v. Caroz‘hersl 192 F.3d 52, 56 (2d Cir.1999),
cert den. 531 U.S. 1052, 121 S.Ct. 657 (2000).

 

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standard “the Federai Rules of Civii Procedure do ‘not unlock the doors of discovery for
a plaintiff armed with nothing more than conclusions or speculation.”’) (quoting /qbal).
Whether RPD Can Be Sued
Before considering particular claims Movants raise a general objection to the
inclusion of the RPD as a defendant in this action, asserting that claims against the RPD
are redundant of claims against the City. On this point another Judge of this District
recently stated:

Pursuant to Federai Rule of Civii Procedure 17(b)(3), the capacity of local
law enforcement agencies to sue or be sued is determined by reference to
New York law. “Under New York law, departments which are merely
administrative arms of a municipality have no separate legal identity apart
from the municipality and therefore cannot sue or be sued,” S.Vl/. by J.l/l/. v.
Warren, 528 F. Supp. 2d 282, 302 (S.D.N.Y. 2007), and “[a] police
department is an administrative arm of the municipal corporation.” Nix i/.
City of Rochester, No. 6:14-CV-06395(MAT), 2017 WL 3387103, at *8
(VV.D.N.Y. Aug. 5, 2017). The City Defendants are correct that the RPD,
which is an administrative arm of the City [of Rochester] and lacks the
capacity to sue or be sued is not a proper defendant in this matter. As such,
the City Defendants' motion to dismiss is granted as to all claims against
the RPD

Casaccia v. City of Rochester, No. 6:17-CV-06323-l\/lAT, 2018 WL 324420, at *4
(W.D.N.Y. Jan. 8, 2018) (Teiesca, J.). The Court agrees with that assessment and
similarly dismisses RPD from the action.

New York State False Arrest/False imprisonment Ciaims

Plaintiff asserts a claim for false arrest/false imprisonment under New York iaw,
against the City, Bushart, Beradini, Brennan and Galetta. (Ninth Cause of Action). The

elements of such are claim are as follows:

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Under the common law, a plaintiff may bring suit for false arrest and
imprisonment against one who has unlawfully robbed the plaintiff of his or
her freedom from restraint of movement To prevail on such a cause of
action, the plaintiff must demonstrate that the defendant intended to confine
the plaintiff, that the plaintiff was conscious of the confinement that the
plaintiff did not consent to the confinement and that the confinement was
not privileged For purposes of the privilege element of a false arrest and
imprisonment claim, an act of confinement is privileged if it stems from a
lawful arrest supported by probable cause Probable cause consists of
such facts and circumstances as would lead a reasonably prudent person
in like circumstances to believe plaintiff guilty. Probable cause does not
require proof sufficient to warrant a conviction beyond a reasonable doubt
but merely information sufficient to support a reasonable belief that an
offense has been or is being committed by the suspected individua|, and
probable cause must be judged under the totality of the circumstances

Torres v. Jones 26 N.Y.3d 742, 759, 47 N.E.3d 747, 759-60 (2016) (citations and internal
quotation marks omitted). “Probable cause is a complete defense to an action for false
arrest brought under New York law or § 1983.” Ackerson i/. City of White P/ains, 702 F.3d
15, 19 (2d Cir.2012) (internal citation and quotation marks omitted).

Under New York iaw, a claim for false arrest only pertains to the period between
arrest and arraignment or indictment whichever occurs first See, Dabbs v. State, 59
N.Y.2d 213, 218, 451 N.E.2d 186, 188 (1983) (“As the State correctly points out damages
for false imprisonment are not recoverable after arraignment.”); see also, Nwora v. City
ofBuffa/o, 23 l\/lisc. 3d 1135(A), 889 N.Y.S.2d 883 (Sup. Ct. Erie County 2008) (“[l]f false
arrest is established damages are measured only to the time of arraignment or
indictment whichever occurs first.”), aff'd, 63 A.D.3d 1661, 879 N.Y.S.2d 744 (4th Dept.

2009).

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Here, the Proposed Amended Complaint asserts two different theories concerning
false arrest First it contends that the City of Rochester falsely arrested Plaintiff in 2002
for murder and arson, by virtue of having performed a shoddy investigation. For
example, the pleading alleges that prior to arresting Plaintiff, RPD officers failed to secure
the crime scene, failed to interview witnesses and failed to investigate other potential
suspects24 Second the Amended Complaint maintains that the City, Bushart, Beradini,
Brennan and Galetta falsely” arrested/falsely imprisoned” Plaintiff post-conviction, by
allowing him to remain imprisoned after they learned of Mrs. Boyd’s assertion that her
husband actually committed the murders and arson. in particular, the pleading contends
that these Defendants failed to disclose exculpatory evidence, which “caused the Plaintiff
to be restrained in his liberty from September18, 2005 through August 14, 2015.”25 With
regard to this claim, the Court understands Plaintiff to be asserting that the Movants’
receipt of Mrs. Boyd’s exculpatory statement negated or dissipated any probable cause
that may have existed previously, since her statement indicated that Plaintiff was
innocent

insofar as the Proposed Amended Complaint alleges that the City of Rochester
and RPD defendants falsely arrested Plaintiff in 2002, it fails to state an actionable claim.
Preliminarily, although this claim is purportedly asserted against the City, Bushart,

Beradini, Brennan and Galetta, there is no plausible connection between the 2002 arrest

 

24Amended Complaint [#30-1] at 11 126.
25Amended Complaint [#30-1] at 11 127.

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and either Bushart, Beradini, Brennan or Galetta. These individual defendants did not
become involved with Plaintiff’s case until years after his arrest and conviction.

insofar at the false arrest/false imprisonment claim involving the 2002 arrest is
being asserted against the City, the allegations that the RPD performed an inadequate
investigation into the murders and arson are entirely conclusory and devoid of any factual
support26 The pleading therefore does not plausibly plead that the RPD investigation
was actually deficient l\/loreover, the claim does not expressly allege that there was a
lack of probable cause, but instead asserts that the arrest “was without justification,”
because of the investigating officers’ “negligence.”27 However, such negligence would
only be relevant if it resulted in a lack of probable cause,28 and the pleading establishes
that there was probable cause for the arrest since it indicates that Plaintiff was indicted
for, and convicted of, the same crimes for which he was arrested and that his convictions
were affirmed on appeal. See, Swinton v. City of New York, 61 A.D.3d 557, 558, 877
N.Y.S.2d 68, 69-70 (1st Dept. 2009) (“To the extent the subject notice of claim alleged

false arrest and imprisonment and malicious prosecution, these claims are not viable in

 

26Proposed Amended Complaint [#30-1] at 11 126.
27Proposed Amended Complaint [#30-1] at 11 126.

28lt is well-settled that New York does not reco% ize a claim for negligent investigation. See,
Coyne v. State, 120 A.D.2d 769, 770, 501 N.Y.S.2d 50 , 506 (1986) (“The case law is well settled that,
on ublic policy grounds no legally co nizable cause of action exists for ne ligent investigation of a crime
an claimants only avenue of relief is yway of the traditional remedies of alse arrest and malicious
prosecution suits.”); cf. Drake v. State, 26 l\/lisc. 2d 309, 310, 482 N.Y.S.2d 208, 209-10 (Ct. Cl_. 19_84)
X[T]he courts of this State do not recognize a cause of action for negligent rosecution or investigation.

n individual who alleges that he has been wron fully prosecuted must fin recourse in an action for
malicious prosecution, and is required to establis more than mere negligence; his burden is to prove
\lAJ/an§ olfgp&rg)bable cause and malice.”) (citations omitted), aff'd, 115 A.D.2d 834, 496 N,Y.S.2d 382 (3d

ep . .

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light of petitioners' conviction of assault in the third degree, which was upheld by the Court
of Appeals. A conviction which survives appeal is conclusive evidence of probable
cause, and thus the finding of probable cause is fatal to each of the aforesaid causes of
action.”) (citations and internal quotation marks omitted); see also, Phin v. City of New
York, 157 A.D.3d 553, 554, 70 N.Y.S.3d 1, 2 (1 st Dept. 2018) (“The existence of probable
cause constitutes a complete defense to plaintist state claims and federal claims for false
arrest false imprisonment and malicious prosecution. The existence of probable cause
likewise defeats any claim for the same acts based on a lesser showing of negligence.”)
(citations omitted); Cameron i/. Fogarty, 806 F.2d 380, 387 (2d Cir. 1986) (“ln an action
for false imprisonment, the plaintiff need not show that the prior proceedings against him
terminated in his favor, but the defendant is entitled to prevail if he can establish that there
was probable cause for the arrest and a conviction of the plaintiff following the arrest is
viewed as establishing the existence of probable cause.”) (citation omitted), cert den.,
481 U.S. 1016 (1987).

Of course, Plaintiff later had his conviction set aside, through a collateral attack
based upon new evidence However, such fact is irrelevant to the question of probable
cause for the 2002 arrest since the evidence upon which the collateral attack was granted
did not exist at the time of Plaintiff’s arrest and no defendant in this action had access to
information linking Mr. Boyd to the crimes for which Plaintiff was convicted until years
after Plaintiff’s conviction was affirmed on appeal. See, Adams v. City of New York, 993
F. Supp. 2d 306, 328 (E.D.N.Y. 2014) (“The Second Circuit has stated that, a court must

consider only those facts available to the officer at the time of the arrest and immediately

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before it” when considering whether an officer has probable cause to arrest. Thus, in
the context of false arrest and malicious prosecution, courts have rejected evidence that
arose subsequent to an arrest or the initiation of a prosecution as probative of probable
cause.”) (collecting cases; citations and internal quotation marks omitted); see also,
United States v. Pabon, 871 F.3d 164, 175-178 (2d Cir. 2017) (Discussing issue of
“dissipation in the context of new information emerging after a warrantless arrest based
on probable cause,” and concluding that in all but “extreme” cases following an arrest
based upon probable cause police officers are not required to continually “reevaluate
whether the available evidence still definitively supports the initial probable cause
determination.”). i\/loreover, Judge Randall’s decision granting the collateral attack did
not result in the dismissal of the indictment but in a re-trial. Accordingly, probable cause
remained even after Plaintiff was granted a new trial, in sum, the Amended Complaint
fails to state an actionable claim for false arrest against the City, Bushart, Beradini,
Brennan or Galetta with respect to the 2002 arrest

The Amended Complaint also fails to state an actionable claim insofar as it alleges
that these same defendants “falsely arrested/falsely imprisoned” Plaintiff by causing him
to “be restrained in his liberty” between 2005 and 2015, after they learned of Mrs. Boyd’s
exculpatory statement but failed to disclose the statement to Plaintiff, This theory fails
to state an actionable claim for false arrest/false imprisonment under New York law,
because, as already discussed it is clearfrom the pleading that there was probable cause
for the arrest in that regard Mrs. Boyd’s hearsay statement that her husband was guilty

of the crimes and that Plaintiff was innocent while certainly important is not the type of

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objective, clearly-exonerating evidence that could overcome the probable cause
underlying Plaintiff’s arrest See, e.g., Brown v. City of New York, 92 A.D.2d 15, 20, 459
N.Y.S.2d 589 (1st Dept. 1983) (“At best for plaintiff, the alibi testimony that he was
elsewhere at the time of the offense would have provided a jury issue on the trial of the
criminal charges against him. lt cannot be said that such evidence would dissipate
probable cause for the arraignment Like all such alibi testimony, the question would be
one of credibility in the absence of proof by plaintiff upon this trial that he had an alibi
which would have exonerated him, there was no proof tending to dissipate the probable
cause for the arrest found by the jury.”), aff'd, 60 N.Y.2d 893, 458 N.E.2d 1248 (1983).

Further, an element of such claims under New York law is that the defendant must
have confined or restrained the plaintiff, and the pleading indicates that Movants were not
the ones restraining Plaintiff between 2005 and 2015, Rather, Plaintiff was being
confined by the New York State Department of Corrections and Community Supervision
(“DOCCS”) pursuant to the judgment of the trial court

Nevertheless Plaintiff contends that Movants effectively restrained him, or
effectively prolonged his incarceration, by failing to disclose exculpatory information to
him. However, Plaintiff’s attempt to fit this claim under the rubric of a New York false
arrest/false imprisonment claim fails because New York does not recognize such a claim.
To begin with, the Court finds no New York case recognizing a false arrest/false
imprisonment claim involving conduct that occurred either post-arraignment post-
indictment or post-conviction. Rather, New York caselaw indicates that claims involving

post-arraignment incarceration are attributable only to the tort of malicious prosecution.

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See, Landow v. Town of Amherst, 28 A.D.3d 1223, 1224, 814 N.Y.S.2d 473, 474 (4th
Dept. 2006) (“Damages resulting from postarraignment incarceration are attributable only
to the tort of malicious prosecution[.]”). Similarly, the Court’s research has turned up no
New York case recognizing a cause of action for false arrest or false imprisonment based
upon a theory of “unreasonably prolonged detention” after conviction.

in particular, the Court finds no case involving a false arrest/false imprisonment
claim under New York iaw, involving someone who had been wrongly convicted of crime
and who remained in jail because a police officer or other person failed to disclose
exculpatory information obtained post-conviction. Rather, the New York state courts and
federal courts in this Circuit routinely entertain such claims solely as federal claims under
the 4th Amendment and § 1983, arising pursuant to Russo v. City of Bridgeport that are
distinct from false arrest claims See, e.g., Jackson v. City of New York, 29 F.Supp.3d
161, 178-179 (E.D.N.Y. 2014) (Discussing difference between a false arrest claim and
“the separate claim for unreasonably prolonged detention” that arises under Russo); see
also, Sanders v. City of New York, No. 12 CV 113 (PKC)(LB), 2015 WL 1469514 at *7-
14, 19 (E.D.N.Y. Jan. 7, 2015) (Analyzing a claim for false arrest under New York law and
a “pro|onged detention” claim under § 1983 as distinct non-overlapping claims with
different eiements); Savane v. District Atty. of New York County, 148 A.D.3d 591, 591
(1st Dept. 2017) (Listing the various claims being asserted and referencing a claim for
“unreasonably prolonged detention” as being separate from, and not as a sub-category
of, a claim for false arrest); Harewood v. Braithwaite, 2013 WL 6162820 at *3 (E.D.N.Y.

Nov. 25, 2013) (“As Defendant himself notes “[a] false arrest claim is premised on the

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plaintiff showing, among other things that the arresting officer lacked probable cause for
the arrest A Russo claim rises after a lawful arrest based on probable cause.”).

in sum, although the Second Circuit in Russo, recognized a federal cause of
action for unreasonably prolonged detention involving a failure to disclose exculpatory
evidence, there is no analogous false arrest/false imprisonment claim under New York
law. Accordingly, insofar as Plaintiff’s New York false arrest/false imprisonment claim is
based upon the Movants’ failure to turn over exculpatory evidence obtained post-
conviction, or to further investigate such evidence, it must be dismissed as against
Movants for failure to state an actionable claim.

For-all of the foregoing reasons the Amended Complaint’s Ninth Cause of Action
for “faise arrest and false imprisonment” under New York iaw, is dismissed as against the
City, Bushart, Beradini, Brennan and Galetta, with prejudice

Section 1983

The Proposed Amended Complaint’s First Second and Fifth Causes of Action
purport to state claims against the l\/lovants under 42 U.S.C. §1983. Section 1983 “is
not itself a source of a substantive rights but merely provides a method for vindication of
federal rights elsewhere conferred.” Long v. Crowley, No. 09-CV-00456A(F), 2012 WL
1202181 (W.D.N.Y. l\/lar. 22, 2012) (citations and internal quotation marks omitted). To
establish individual liability under Section 1983, a plaintiff must show that the defendant
acted under color of state law and caused the plaintiff to be deprived of a constitutional
right. 42 U.S.C. § 1983,

The First Cause of Action alleges that Bushart and Beradini violated Plaintiff’s

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“cleariy established rights under the Fourth, Fifth, Sixth and Fourteenth Amendments,”
by “failing to share the exculpatory information [they] obtained on September 18, 2005,”
and that

Bushart’s and Beradini’s conduct was so closely related to the deprivation
of these clearly established constitutional rights as to be the moving force
that caused the Plaintiff to be denied due process and to suffer a loss of
liberty, prolonged detention, and a denial of his right to a speedy trial.

Amended Complaint at 11 11 56-61. Similarly, the Amended Complaint’s Second Cause
of Action alleges that Brennan and Galetta violated Plaintiff’s “cleariy established rights
under the Fourth, Fifth, Sixth and Fourteenth Amendments,” by failing to disclose the
exculpatory information that they obtained in i\/lay 2012, and, further, by

(i) withholding this exculpatory information for nineteen months; (ii)
misleading the Plaintiff into believing that he (Defendant Brennan) was
visiting Plaintiff in Attica to do a study on arson and murder[; and] (iii)
specifically instructing Kathleen Boyd not to tell the Plaintiff that her
husband confessed to the murders[.]

Amended Complaint [#30-1] at 11 67. The Fifth Cause of Action, meanwhile, purports to
state a Mone// claim against the City of Rochester.

Preliminariiy, the claim that Brennan misled Plaintiff about the reason that he was
interviewing Plaintiff pertains only to Brennan. Moreover, even assuming that Brennan
misled Plaintiff about the reason for the interview, such fact clearly fails to establish any
type of constitutional violation. Brennan was clearly attempting to investigate the
veracity of Mrs. Boyd’s claim, and Plaintiff had no constitutional right to know the true

reason for the interview. Accordingly, the remaining issues are whether the Amended

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Complaint plausibly pleads that Plaintiff’s constitutional rights were violated either when
Bushart, Beradini, Brennan or Galetta failed to inform him of Mrs. Boyd’s statement, or
when Brennan and Galetta directed Mrs. Boyd not to speak to him, and if so, whether the
pleading plausibly asserts that such violation occurred due to a City poiicy. The Court
will consider each of the alleged constitutional violations in turn.

Fourth Amendment

The Amended Complaint can be understood to assert two types of Fourth
Amendment claim: A false arrest claim, and a Russo “pro|onged detention” claim.29 A
Fourth Amendment false arrest claim under Section 1983 has the same elements as a
New York false arrest claim. See, Covington v. City of New York, 171 F.3d 117, 122 (2d
Cir. 1999) (“A § 1983 claim for false arrest resting on the Fourth Amendment right of an
individual to be free from unreasonable seizures including arrest without probable cause,
is substantially the same as a claim for false arrest under New York law. Additionally,
the existence of probable cause to arrest constitutes justification and is a complete
defense to an action for false arrest whether that action is brought under state law or
under § 1983.") (citations and internal quotation marks omitted). Accordingly, the
Section 1983 false arrest claims fail for the same reasons that the state-law false arrest
claim failed

On the other hand the elements of a Fourth Amendment Russo claim are (1) that

Plaintiff had “a right to be free from continued detention stemming from law enforcement

 

29 See, Russo v. City of Bridgeport 479 F.3d at 205 (“[T]his type of claim, which has in the past
been treated as one based on substantive due process should be examined under the Fourth
Amendment instead.”).

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officials’ mishandling or suppression of exculpatory evidence, (2) that the actions of the
officers violated that right and (3) that the officers’ conduct shocks the conscience.”
Russo v. City of Bridgeport, 479 F.3d at 205. Here, there can be no question that the
duration of Plaintiff’s confinement is of constitutional magnitude and is therefore sufficient
to support a Russo prolonged detention claim. However, the Proposed Amended
Complaint does not plausibly allege that Movants violated Plaintiff’s right to be free from
such detention by failing to investigate or by suppressing evidence, or that the officers’
conduct shocks the conscience

To begin with, the exculpatory evidence in this case is not the type of “specific,
readily-verifiable [evidence ot] innocence” envisioned by the Second Circuit in Russo.
The instant case does not involve DNA evidence, photographic evidence, fingerprint
evidence, ironclad alibi evidence or other objective evidence that could conclusively
exonerate Plaintiff. See, Russo, 479 F.3d at 209 (“An officer’s duty to investigate specific,
readily-verifiable claims of innocence in a reasonable time period clearly covers reviewing
a surveillance camera video record of a crime, when, as here, it was an easily available
piece of physical evidence.") (emphasis added); Husbands ex rel. Forde v. City of New
York, 335 F. App’x 124, 129 (2d Cir. Jun. 30, 2009) (“[T]he facts of Russo are dissimilar
to the facts present here in contrast with Russo, there was no definitive evidence in the
authorities’ possession that could have proven that Forde was not the shooter.”)
(emphasis added). Rather, this action involved an unsubstantiated assertion,
concerning a years-old crime, initially made in anger in the heat of a domestic dispute,

the probative value of which rested entirely on Mrs. Boyd’s credibility. As already

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discussed such evidence by itself is not sufficient to overcome probable cause, let alone
to conclusively establish Plaintiff’s innocence See, e.g., Brown v. City of New York, 92
A.D.2d 15, 20, 459 N.Y.S.2d 589.

Further, the Amended Complaint does not plausibly indicate that Movants
“mishandled or suppressed” the evidence within the meaning of Russo. in Russo, the
defendant police officers had a videotape which conclusively established the plaintiffs
innocence but they kept the videotape locked in a drawer and lied to the plaintiff about
what the videotape actually showed Here, by contrast Bushart and Beradini had only
Mrs. Boyd’s unsupported assertion, made in anger during the heat of domestic dispute
Nevertheless, Bushart did not ignore the statement, but rather, he attempted to question
Mrs. Boyd further about the matter, but she refused to cooperate Bushart did not
suppress the evidence, but rather, he recorded it and reported it to his superior officer.

Similarly, Beradini did not suppress the information, but rather, he entered it into
the RPD’s records which ultimately led to Plaintiff’s conviction being set aside Although
Bushart and/or Beradini conceivably could have done more, such as by informing the
DA’s office or Plaintiff of the statement, their failure to do so does not amount to a violation
of Plaintiff’s right to be from continued detention under the circumstances presented in
this action.

Neither did Brennan or Galetta “mishandle or suppress” evidence within the
meaning of Russo. Rather, it was Brennan’s investigation that led him to Mrs. Boyd’s
statement, which Beradini had entered into the RPD’s records Further, upon

discovering Bushart’s report Brennan interviewed Mrs. Boyd who, after a decade of

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silence decided to cooperate After Brennan’s initial interview, he enlisted Galetta, and
the two investigators re-interviewed l\/lrs Boyd after which Brennan notified the DA’s
Office and investigated the claim further. Although Brennan and Galetta may have told
Mrs. Boyd not to talk to anyone about the matter while they investigated it, such fact does
not amount to suppression of evidence, particularly since there is no indication that Mrs.
Boyd had any intention to talk to Plaintiff, or anyone else, about the matter. ln any event
the pleading does not suggest that the investigators’ intent in that regard was malicious
or wrongfui. Rather, it seems obvious that Brennan wanted to interview Plaintiff without
him knowing the true reason therefor, which is a legitimate investigative tactic.

Furthermore, even assuming arguendo that the Proposed Amended Complaint
plausibly pleaded that Bushart, Beradini, Brennan or Galetta “mishandled or suppressed”
l\/lrs. Boyd’s statement, it does not plausibly plead that the officers’ conduct shocks the
conscience or was unreasonable in a constitutional sense Again, the facts alleged here
bear no resemblance whatsoever to those in Russo, which the Second Circuit described
as involving “affirmative wrongdoing” that included lying and hiding evidence30

Certainly, the conduct of Bushart and Beradini was not shocking or suggestive of
deliberate indifference given the circumstances under which Mrs. Boyd made her initial
statement, her unwillingness to cooperate and the fact that Plaintiff had been convicted
by a jury and his conviction had been upheld on appeal.

Even more so, the conduct of Brennan and Galetta was not shocking or suggestive

 

30 Russo, 479 F.3d at 210.

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of deliberate indifference given the circumstances which include the fact that once
Brennan and Galetta became aware of Mrs. Boyd’s statement, they commenced an
investigation that ultimately led to Plaintiff being freed indeed Brennan testified
favorably to Plaintiff at the 440 hearing before Judge Randall. Plaintiff’s real dispute with
Brennan and Galetta is that they did not notify him about Mrs. Boyd’s statement until after
they completed their investigation, but as discussed later in this Decision and Order, they
had no duty to do so. See, Sanders v. City of New York, No. 12 CV 113 PKC LB, 2015
WL 1469514, at *19 (E.D.N.Y. Jan. 7, 2015) (“Without some evidence beyond the fact
that israel may have failed to produce the exculpatory security video of the Neptune
Avenue parking lot until months after piaintiffs' arrests plaintiffs have not established
conduct which ‘shocks' the conscience.”), report and recommendation adopted No. 12
CV 113 PKC LB, 2015 WL1469506(E.D,N.Y. Nlar. 30,2015).

in sum, the Amended Complaint fails to state a plausible Fourth Amendment
Russo claim. See, e.g., Brightman v. NYC Police Officer Zue/ C/ement, No. 16 ClV. 2507
(LGS), 2017 WL1417301, at *3 (S.D.N.Y. Apr. 20, 2017) (“The Amended Complaint does
not allege facts that, if true, would show that law enforcement officials mishandled or
suppressed exculpatory evidence, or that they engaged in conduct that would shock the
conscience Plaintiff's prolonged detention claim is therefore dismissed”); see also,
Gonzalez v. United States No. 16-CV-1494(KAl\/l), 2018 WL 1597384, at *16 (E.D.N.Y.
i\/lar. 31, 2018) (Dismissing Russo claim pursuant to Rule 12(b)(6), noting that “Plaintiff
has not alleged facts establishing the mishandling or suppression of exculpatory

evidence, or any other conduct by SA Lee or the John Doe defendants that shocks the

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conscience.“)

Fifth and Fourteenth Amendments

Plaintiff also contends that Movants violated his procedural due process rights
under the Fifth and Fourteenth Amendments insofar as they failed to disclose Mrs.
Boyd’s statement to him while he remained incarcerated See, e.g., Pi. l\/lemo of Law [#8-
3] at p. 4 (“[H]is continued incarceration during that period (because he did not have
access to that evidence to advocate for his release) would amount to a deprivation of a
liberty [interest] for that period of time.”); see also, Proposed Amended Complaint, First
and Second Causes of Action, paragraphs 61, 68).

Movants contend that the Proposed Amended Complaint fails to state a Fifth
Amendment claim, since that amendment does not apply to state actors Plaintiff has
not addressed that argument, but nevertheless continues to baldly assert that Movants
violated his Fifth Amendment rights. However, l\/iovants are correct See, Dusenbe/y v.
United States 534 U.S. 161, 167, 122 S. Ct. 694, 699, 151 L. Ed. 2d 597 (2002) (“The
Due Process Clause of the Fifth Amendment prohibits the United States as the Due
Process Clause of the Fourteenth Amendment prohibits the States from depriving any
person of [liberty or] property without “due process of iaw.”) (emphasis added); see also,
Wo/ff v. State Univ. of New York Co/l. at Con‘land, No. 113CV1397BKSCFH, 2016 WL
9022503, at *16 (N.D.N.Y. Feb. 5, 2016) (“Although Plaintiff alleges a violation of both his
Fifth Amendment and Fourteenth Amendment rights he cannot pursue a claim against
state actors under the Fifth Amendment because the Fifth Amendment has not been

applied to the states.”), aff'd sub nom. Wolff v. State Unii/. of New York, 678 F. App’x 4

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(2d Cir. 2017). Consequently, the Amended Complaint fails to state a Fifth Amendment
claim.

As for the Fourteenth Amendment procedural due process claim, Movants
asserted in their motion to dismiss the Complaint, that such claim lacks merit since there
is no freestanding Brady-like duty to disclose exculpatory information obtained post-
conviction. Rather, Movants contended that Plaintiff could have no right to such
disclosure unless New York law provided him a liberty interest in that regard which it did
not in sum, i\/lovants argued that the Complaint failed to state a Fourteenth Amendment
procedural due process claim for deprivation of liberty, since it failed to identify an actual
liberty interest Plaintiff responded to the motion to dismiss by cursoriiy asserting that
his Fourteenth Amendment due process claim is supported by the Houston and Warney
decisions which, he maintained hold that officials violate an inmate’s federal
constitutional rights when they withhold “exonerating evidence" obtained post-conviction.
However, Movants’ reply correctly pointed out that those decisions are factually
inapposite.31

in the Proposed Amended Complaint, Plaintiff reiterates the Fourteenth
Amendment due process claim, again based upon the alleged failure by Bushart,
Beradini, Brennan and Galetta to “share the exculpatory information” with Plaintiff.32 in
opposing the proposed amended pleading, Movants again assert that Plaintiff has failed

to plausibly plead that he was deprived of a protected liberty interest without due process

 

31 See, l\/lovant’s Reply [#9] at pp. 5-7.
32 See, e.g., Proposed Amended Complaint at part 57.

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l\llovants again point out that Osborne established that there is no freestanding Brady-like
right to exculpatory evidence obtained post-conviction, and that New York law also does
not provide such a liberty interest Plaintiff replies that Osborne is "inapposite to the facts
of this case," and not “heipful to [i\/lovants’j cause.”33 instead Plaintiff contends that the
Osborne decision is helpful to his case since it implies that New York law should be
deemed constitutionally inadequate insofar as it fails to provide him with a statutory right
to exculpatory information obtained by police post-conviction.34 in other words, Plaintiff
admits that New York law does not provide him with a liberty interest in obtaining
exculpatory evidence post-conviction, but contends that such fact renders New York law
constitutionally inadequate

The Court agrees with Movants that Plaintiff has failed to state a plausible
Fourteenth Amendment Procedural Due Process claim. To begin with, Osborne
established that there is no freestanding substantive due process right to Brady-like
disclosure post-conviction. See, e.g., Ermichine v. United States No. 06 ClV. 10208 LAP
JL, 2011 WL 1842951, at *13 (S.D.N.Y. May 12, 2011) (“The Supreme Court has
explained that the prosecutorial duty to disclose exculpatory evidence under Brady is a
“preconviction trial right” that does not apply post-conviction or to post-conviction
proceedings such as those Ermichine has initiated here Accordingly, even if Gozman's
allocution and testimony did contain exculpatory information_which they do not-the

Government had no Brady obligation to produce such information to Ermichine years after

 

33 See, Pl. Reply [#37] at un-numbered p. 2.
34 See, Pl. Reply [#37] at un-numbered p. 8 (“New York State’s post-conviction discovery
procedures are inadequate insofar as a convicted persons’s ability to obtain discovery is quite limited").

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his conviction.”) (citations omitted).

Such fact is significant because the two cases upon which Plaintiff primarily relies
-- Houston and Warney- were decided prior to Osborne Further, the Warney decision
found, contrary to Osborne that Brady applies in the post-conviction context
Consequently, the portions of Warney and Houston on which Plaintiff relies are no longer
good law.

On the other hand Osborne indicated that state law may provide a plaintiff with a
procedural-due-process liberty interest and that such a “state-created right can, in some
circumstances beget yet other rights to procedures essential to the realization of the
parent right” Osborne 557 U.S. at 68, 129 S.Ct. at 2319. However, the Osborne decision
cautioned federal courts about creating new rights in such circumstances indicating that
it was preferable to leave such matters to the state legislators except where a state’s law
is “fundamentally inadequate:”

Given a valid conviction, the criminal defendant has been constitutionally deprived
of his liberty. The State accordingly has more flexibility in deciding what
procedures are needed in the context of postconviction relief. When a State
chooses to offer help to those seeking relief from convictions due process does
not dictate the exact form such assistance must assume [A convict’s] right to due
process is not parallel to a trial right but rather must be analyzed in light of the fact
that he has already been found guilty at a fair trial, and has only a limited interest
in postconviction relief. Brady is the wrong framework. instead the question is
whether consideration of [the convict’s] claim within the framework of the State's
procedures for postconviction relief offends some principle of justice so rooted in
the traditions and conscience of our people as to be ranked as fundamental, or
transgresses any recognized principle of fundamental fairness in operation.
Federai courts may upset a State's postconviction relief procedures only if they are
fundamentally inadequate to vindicate the substantive rights provided

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Osborne, 557 U.S. at 69, 129 S. Ct. at 2320 (citations footnotes and internal quotation
marks omitted); see also, McLean v. Brown, No. 08-CV-5200 (JG), 2010 WL 2609341, at
*7 (E.D.N.Y. June 25, 2010) (“A prisoner's post-conviction due process right to evidence
is |imited; it extends only to the proper application of a state-created right to such
evidence.”).

A plaintiff may also challenge “a municipal custom or practice that . . . undermines
otherwise adequate State procedures." Newton v. City of New York, 779 F.3d 140, 150
(2d Cir. 2015) (“[A] failure of local government in carrying out its role [under CPL Section
440.30(1-a) to store evidence] can nullify the adequacy of State procedures and expose
the municipality to constitutional liability.”). in other words, a municipality can be sued
for depriving a plaintiff of a state-created liberty interest ld.

Here, there is no dispute that by enacting CPL section 440.10(1)(g), the State of
New York has granted Plaintiff a liberty interest in pursuing post-conviction relief based
upon newly discovered evidence generally. However, such a liberty interest by itself
does not provide Plaintiff with a concomitant liberty interest in disclosure of exculpatory
evidence obtained post-conviction. See, McKithen v. Brown, 626 F.3d 143, 152 (2d Cir.
2010) (Observing that in Osborne the Supreme Court “held that Osborne had a residual
liberty interest arising out of Alaska law, in proving his actual innocence before state
courts that can provide post-conviction relief on the basis of that demonstration But the
Court was clear that this residual liberty interest is limited lt does not entitle a prisoner to
all exculpatory evidence, the kind of discovery that a defendant would be entitled to before

tria/.”) (emphasis added). Accordingly, it is clear that CPL sec 440.10(1)(g) does not

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provide Plaintiff with the liberty interest that he claims in this action. Neither does New
York State law othen/vise provide convicted persons with a liberty interest in having post-
conviction potentially-exculpatory evidence turned over to them under the circumstances
presented in this action.

Plaintiff acknowledges that New York law does not provide for such post-conviction
disclosure of potentially exculpatory evidence, but he contends that such fact makes New
York law constitutionally deficient because his liberty interest under CPL 440.10(1)(g)
should “beget” the additional right to have such post-conviction disclosure However, the
facts as alleged in the Proposed Amended Complaint do not plausibly establish that New
York law is “fundamentally inadequate” within the meaning of Osbome.

To begin with, the contention that a state’s procedures are fundamentally
inadequate because they do not provide for a Brady-like right to disclosure of exculpatory
evidence post-conviction is contrary to Osbome. See, Osborne 557 U.S. at 69, 129 S.Ct.
at 2320 (“The Court of Appeals went too far, however, in concluding that the Due Process
Clause requires that certain familiar preconviction trial rights be extended to protect
Osborne's postconviction liberty interest Given a valid conviction, the criminal
defendant has been constitutionally deprived of his liberty. The State accordingly has
more flexibility in deciding what procedures are needed in the context of postconviction
relief.”) (citations omitted).

i\/loreover, Plaintiff successfully utilized New York law to overturn his conviction.
The fact that the process took longer than it would have in a more-perfect world (in which

citizens cooperate with the police rather than allowing innocent neighbors to sit in prison)

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does not establish that New York State’s procedures are fundamentally inadequate within
the meaning of Osborne See, e.g., McLean v. Brown, 2010 WL 2609341, at *8 (Finding
that despite delays “l\lchean was afforded access to state law procedures that cannot be
characterized as ‘fundamentally unfair,’ and the Fourteenth Amendment's Due Process
Clause entitles him to nothing more Accordingly, McLean fails as a matter of law to state
a due process claim.”); see also, Gavitt v. /onia Cty., 67 F. Supp. 3d 838, 855-56 (E.D.
l\/lich. 2014) (VVhere exculpatory information was provided to the plaintiff more than a
decade after his conviction: “Gavitt does not and cannot allege that l\/lichigan's post-
conviction procedures are inadequate He successfully used l\/lichigan's post-conviction
relief procedures i.e., filing a motion for relief from judgment under l\llich. Ct. Rule
6.502(G)(2), based upon newly-discovered evidence, and obtained his release from
prison and the dismissal of the arson and felony-murder charges on which he was
previously convicted Gavitt, therefore cannot state a § 1983 claim against Prosecutor
Gabry based on the failure to disclose exculpatory evidence post-conviction.”), aff’d sub
nom. Gavitt i/. Born, 835 F.3d 623 (6th Cir. 2016); Estrada v. Healey, 647 F. App'x 335,
338-39 (5th Cir. Apr. 27, 2016) (“ln noting that ‘Brady is the wrong framework’ for
analyzing a criminal defendant’s liberty interest in obtaining exculpatory evidence in the
post-conviction context the [Osborne] Court stated that the pertinent inquiry is whether a
State's post-conviction procedures are ‘fundamentally inadequate to vindicate the
substantive rights provided.’ Estrada has not advanced such a claim, and, indeed,
Estrada's rights were vindicated when Texas’s post-conviction process resulted in

overturning his conviction and his release from prison.”) (emphasis added; citations

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omitted), cert. denied 137 S. Ct. 226, 196 L. Ed. 2d 174 (2016).

To the extent that New York’s procedures could be expanded to provide more
protection to persons such as Plaintiff, who would have no way of knowing that they
should seek disclosure of exculpatory information in the possession of the police that is
a matter for the New York legislature The Supreme Court, in Osborne and the Second
Circuit in Newton, have cautioned that federal courts should not “expand the rights
provided by" state law. See, e.g., Newton v. City of New York, 779 F.3d at 151 (“[V\/]e
must take care to avoid suddenly constitutionalizing the area of DNA testing and thereby
placing the matter outside the arena of public debate and legislative action. We defer
to States in this area because it is normally within the power of the State to regulate
procedures under which its laws are carried out and States have considerable expertise
in matters of criminal procedure and the criminal process grounded in centuries of
common law tradition.") (citations and internal quotation marks omitted).

Furthermore, even assuming arguendo that Plaintiff could establish that Movants
violated his procedural due process rights by failing to disclose Mrs. Boyd’s statement to
him in a more timely manner, Movants would be entitled to qualified immunity,35 since it
is not clearly established now, let alone at the time of the alleged violations that such a
right exists See, Gavitt v. Born, 835 F.3d at 648 (6th Cir. 2016) (“ln Osborne 557 U.S. at

68, 129 S.Ct. 2308, the Supreme Court noted that “nothing in our precedents” suggests

 

35 “Qualified immunity protects officials from damages liability if their conduct does not violate
clearly established statutory or constitutional rights of which a reasonable person would have known.
‘Clearly established means that, at the time of the officer’s conduct the law was sufficiently clear that
every reasonable official would understand that what he is doing is unlawful.” Antic v. City of New York,
No. 17-2670-CV, --- F.App’x , 2018 WL 3478834, at *1 (2d Cir. July 19, 2018) (citations omitted).

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that the prosecutor's obligation to disclose Brady material to the defendant before trial
continues after the defendant is convicted and the case is closed Gavitt has failed to cite
any contrary authority. To the extent due process could be deemed to include such an
obligation, it is not yet a matter of clearly established law and defendants are entitled to
qualified immunity. lt follows that the district court did not err by dismissing Count lV.”);
see also, Estrada v. Healey, 647 F. App’x at 338-339 (5th Cir. 2016) (Criminal defendant
alleged that between 2012-2013, district attorney violated his constitutional rights by
failing to notify him, after district attorney learned post-conviction that crime lab scientist
(Salvador) had been caught falsifying results in cases; the court affirmed that defendants
were entitled to qualified immunity: “Estrada cites no case law establishing a due process
right to the timely disclosure of exculpatory evidence discovered after his conviction, i.e.,
Sa|vador's misconduct instead he relies exclusively on the rule announced in Brady that
due process requires a prosecutor to disclose materiai, exculpatory evidence to a
defendant before trial. His argument is undercut by the Supreme Court’s decision in
[Osborne] which explicitly declined to extend Brady's pre-trial protections to the post-
conviction context . . . Although Estrada takes great pains to distinguish Osborne and
press his due process argument under Brady, he points to no existing precedent placing
the constitutional question beyond debate Appellees are therefore entitled to qualified
immunity.”) (citations and internal quotation marks omitted); Grier v. Klem, 591 F.3d 672,
678 (3d Cir. 2010) (“[P]rocedural due process does not require that a district attorney
disclose all potentially exculpatory evidence for postconviction relief to a prisoner.”).

For all of the foregoing reasons Movants’ application to dismiss Plaintiff’s

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Fourteenth Amendment procedural due process claim is granted

Sixth Amendment

The Proposed Amended Complaint contends that Bushart, Beradini, Brennan and
Galetta violated Plaintiff’s Sixth Amendment “right to a speedy trial.”36 Movants contend
that the Proposed Amended Complaint fails to state a Sixth Amendment speedy trial
claim, citing Betterman v. Montana, 136 S.Ct. 1609, 1612 (2016), in which the Supreme
Court held interalia, that there is no Sixth Amendment speedy-trial right once a defendant
has been found guilty at trial. in a footnote in his response Plaintiff concedes that
Movants are correct.37 Movants are indeed correct and the Sixth Amendment claim
must therefore be dismissed

Mone// Claim

The Proposed Amended Complaint asserts that the City of Rochester is liable for
the alleged constitutional violations due to having “a custom and practice of withholding
exculpatory information and/or evidence from convicted persons.”38 Movants contend
that no constitutional violations occurred and that in any event the pleading fails to
plausibly allege a basis to impose Mone// liability. Based upon the Court’s discussion
above finding that the pleading fails to state a plausible underlying constitutional violation,
the Court agrees with Movants that the Monel/ claim against the City must also be
dismissed See, Askins v. Doe No. 1, 727 F.3d 248, 253 (2d Cir. 2013) (“Unless a plaintiff

shows that he has been the victim of a federal law tort committed by persons for whose

 

36 Proposed Amended Complaint at paragraphs 60-61l 67-68.
37 Pl. Response [#37] at unnumbered p. 4, n. 3.
38 Proposed Amended Complaint at paragraph 90.

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conduct the municipality can be responsible there is no basis for holding the municipality
liable Mone/l does not create a stand-alone cause of action under which a plaintiff may
sue over a governmental policy, regardless of whether he suffered the infliction of a tort
resulting from the poiicy. Liability under section 1983 is imposed on the municipality when
it has promulgated a custom or policy that violates federal law and pursuant to that policy,
a municipal actor has tortiously injured the plaintiff.").

For all of the foregoing reasons the Proposed Amended Complaint fails to state a
claim under Section 1983 against the Movants and the First Second and Fifth'Causes
of Action are dismissed

Section 1985 Conspiracv Ciaims

As previously mentioned the Sixth and Seventh Causes of Action in the Amended
Complaint purport to state conspiracy claims under § 1985. The Sixth Cause of action,
against Brennan and Galetta, alleges that they conspired to “impede, hinder, obstruct
and defeat the due course of justice by directing Kathleen Boyd not to tell the Plaintiff or
anyone else for that matterl that her estranged husband (Darreil Boyd) had confessed to
the murders of Clara Sconiers and Thomas Reed.” Plaintiff’s theory is that Brennan and
Galetta conspired with Mrs. Boyd after they interviewed her in l\/lay 2012. The Seventh
Cause of Action, against Brennan, Galetta, Doorley, Green and Wolford alleges that they
conspired with each other, on May 29, 2012, to deny Plaintiff unspecified “rights and
privileges” and to “impede, hinder, obstruct and defeat the due course of justice by failing
to disclose to the Plaintiff, a judge or other competent authority (for eighteen months) the

exculpatory information [obtained from i\llrs. Boyd.]”

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Neither the Sixth nor the Seventh Causes of Action reference a particular
constitutional provision. Consequently, the causes of action do not specify which of
Plaintiff’s constitutional rights the Defendants allegedly conspired to violate The only
constitutional provisions expressly referenced in the Proposed Amended Complaint are
the Fourth, Fifth, Sixth and Fourteenth Amendments in arguing that the proposed
amendment is futile, l\llovants reasonably interpreted the Sixth and Seventh Causes of
Action to allege that Defendants conspired to violate Plaintiff’s purported Fourteenth
Amendment Brady-like right to post-conviction disclosure of exculpatory evidence
Movants argued that such claims fail to state an actionable claim, since no such Brady-
like post-conviction right exists For the reasons already discussed the Court agrees and
therefore finds that the Sixth and Seventh Causes of Action fail to state actionable claims
against Brennan or Galetta. in sum, Brennan and Galetta could not have conspired to
violate Plaintiff’s right to post-conviction disclosure of exculpatory evidence, because New
York law provides him no such right and there is no such freestanding constitutional right
Alternatively, Brennan and Galetta would clearly be entitled to qualified immunity.

in his Reply [#37] in support of the l\/lotion to Amen.d, Plaintiff belatedly refers to a
“First Amendment access to the courts claim,” even though his pleadings do not reference
the First Amendment or an “access to the courts claim.” To the extent that Plaintiff is
attempting to re-cast the Sixth and Seventh Causes of Action in the Proposed Amended

Complaint as asserting conspiracies to violate Plaintiff’s right of access to the courts the

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attempt fai|s.39 First as already noted the pleading does not actually assert such a
claim. Rule 8(a) of the Federai Rules of Civii Procedure requires that a complaint give
“fair notice” of the claims being asserted see e.g., Keiler v. Harlequin Enterprises Ltd.,
751 F.3d 64, 70 (2d Cir. 2014), and Plaintiff’s pleadings do not give fair notice that he is
attempting to assert a “First Amendment access to the courts claim.”

Further, even if the Proposed Amended Complaint could be construed as asserting
such a ciaim, the claim is not plausible since it does not allege an actual injury that is
traceable to the alleged conspiracy involving Brennan and Galetta. See, O/iva v. Town of
Greece, 630 F. App'x 43, 45 (2d Cir. Nov. 17, 2015) (“To succeed on an access to courts
claim, a plaintiff must show that the defendant caused the plaintiff injury or, put less
succinctly, that the defendant took or was responsible for actions that had the actual effect
of frustrating the plaintiff’s effort to pursue a legal claim.”). Here, there is no contention
that Plaintiff was actually attempting to litigate a particular collateral attack or other claim
during the relevant time and no contention that Brennan or Galetta prevented him from
doing so. To the extent that Plaintiff maintains that Brennan and Galetta denied him
access to the Courts by failing to inform him of Mrs. Boyd’s statement, the Court has
already found that they had no obligation to do so. To the extent that Plaintiff maintains
that Brennan and Galetta denied him access to the Courts by telling Mrs. Boyd not to talk

with anyone else about the matter while they investigated it any injury therefrom is far

 

39 The discussion of a “First Amendment access to the courts claim” in Plaintiff’s Reply [#37]
does not reference any specific cause of action in the Proposed Amended Complaint, however, it seems
most likely to be related to the Sixth and Seventh Causes of Action, since it refers to Galetta and Brennan
telling i\/lrs. Boyd not to talk with anyone about the exculpatory evidence, which is the same basis for the
Sixth and Seventh Causes of Action.

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too remote and speculative to provide standing, since there is no indication that Mrs. Boyd
would have talked with Plaintiff about the matter in the absence of the direction from
Brennan and Galetta. To the contrary, there is every indication that she would have
continued not to do so, since she never attempted to contact Plaintiff during the preceding
decade and refused to provide further details to Officer Bushart in 2005. lt must be
remembered that Mrs. Boyd never voluntarily came fonivard with the exculpatory
information. Rather, in 2005, in Bushart’s presence she disclosed only enough
information to force her husband to leave the marital residence and then refused to speak
further with Bushart Then, in 2012, she spoke with Brennan only after he tracked her
down using Bushart’s report Accordingly, Plaintiff’s attempt to paint Mrs. Boyd as a
good Samaritan who was thwarted by Brennan and Galetta from doing the right thing is
entirely implausible.40 For all of the foregoing reasons the Sixth and Seventh Causes
of Action are dismissed as against Brennan and Galetta, for failure to state a claim.

Movants have demonstrated that all of the claims against them in the Proposed
Amended Complaint are futile Accordingly, Movants’ motion to dismiss will be granted,
and Piaintiffs motion to amend will be denied as to the l\llovants

CONCLUSION
Movants’ motion to dismiss [#3] is granted, and the claims (and proposed claims)

against the City of Rochester, RPD, Bushart, Beradini, Brennan and Galetta are

 

40 See, e.g., Aff. Of Pl. Counsel [#30-1] at parargraph 19E (“[T]hey instructed a witness (who
cried as she told them that ‘an innocent man was in jail’) not to tell the Plaintiff.”); see alsol Proposed
Amended Complaint [#30-1] at paragraph 41 (“She [i\/lrs. Boydj was adamant in her description of the
events that an innocent man (the Plaintiff) was sitting in jails for crimes that he did not commit.").

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dismissed with prejudice The Clerk is directed to terminate those parties along with
l\llichael Green, as defendants in this action.41 The state-law claims for negligent
training, supervision and retention, malicious prosecution, llED and NlED (the dismissal
of which Plaintiff did not oppose and which have not been included in the proposed
amended complaint) are dismissed with prejudice as to all Defendants Plaintiff’s motion
to amend [#30] is denied as to the City of Rochester, RPD, Bushart, Beradini, Brennan
and Galetta, but is granted as to the County Defendants who did not oppose the
appHcann.

SO ORDERED.

Dated: Rochester, New York
September tB_ , 2018

ENTER:

cHARi_Es .i sirtelcuszj

United States District Judge

 

 

‘"See Docket No. [#30-1] at 11 24 (discontinuing action as against l\llichael Green).

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